Case 2:17-cv-05266-JVS-DFM Document 1-4 Filed 07/17/17 Page 1 of 5 Page ID #:54




                             EXHIBIT D
Mobile / System Applications / NEC Electronics                                   http://www.necel.com/en/solutions/applications/mobile/3g/01.html
              Case 2:17-cv-05266-JVS-DFM Document 1-4 Filed 07/17/17 Page 2 of 5 Page ID #:55


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                                     Applications >

           Advanced

         System Applications
                                     Mobile
         HOME                        THIRD GENERATION MOBILE PHONES
         Digital AV
         Mobile
          Third Generation Mobile
          Phone
         PC and Peripheral
         Devices
         Automotive Electronics
         Backbone
         Communications
         High-end Computing
                                     Mobile phones are the backbone of mobile communications and
         Consumer Electronics and have experienced explosive growth. Since the year 2000,
         entertainment
                                     mobile phone growth within Japan has slowed due to the high
         platformOViA                level of market penetration and the limited number of
                                     consumers that do not already own a mobile phone. Currently,
                                     the mobile phone market is mainly supported by consumers
                                     replacing their old models with newer ones.

                                     Third-generation mobile phones* (hereafter referred to as "3G
                                     mobiles") are expected to be extremely popular and fuel further
                                     replacement demand. Telecommunication firms all over the
                                     world are preparing to deploy third-generation networks. 3G
                                     mobiles provide a next generation mobile phone service that
                                     aims to offer high-speed 2M/second communication using high
                                     transmission efficiency in the high frequency 2GHz band. This will allow multi-media
                                     communication (such as animated images), a typical example of which is viewing TV on a mobile
                                     phone. This offers a groundbreaking way to use mobile phones.

                                     Imminent is the practical application of new technology called "3.5G" which realizes further
                                     high-speed data communication by developing the technology base of the 3G mobile. This not
                                     only realizes maximum 12Mbps transmission speed but was developed with fixed-rate
                                     communications in mind, so together with the high transmission speed of maximum 12M
                                     bits/second, a cheaper and more comfortable mobile environment is about to be realized.

                                     *3rd generation mobile phone
                                     Mobile phone (mobile communication) use has undergone the changes shown below.

                                     First-generation mobile phone (1G): Used mainly as a car phone service, started in December
                                                                         1979, provided using analog technology.
                                     Second-generation mobile phone      Used digital technology launched in March 1993 (PDC format
                                     (2G):                               was used inside Japan). After services other than
                                                                         communication services such as i-mode were added,
                                                                         became also referred to as 2.5 generation (2.5G).
                                     Third-generation mobile phone       Uses high-speed communication and the highly efficient
                                     (3G):                               W-CDMA technology. The first 3G service in Japan was NTT
                                                                         DoCoMo's "FOMA", which started in October 2001. A mobile
                                                                         phone based on high-speed communication technology
                                                                         called "3G" which realizes 3M bits/second or over by
                                                                         developing the current 3G technology will be on the market
                                                                         soon.




1 of 4                                                                                                                        7/23/2006 2:26 PM
Mobile / System Applications / NEC Electronics                                    http://www.necel.com/en/solutions/applications/mobile/3g/01.html
              Case 2:17-cv-05266-JVS-DFM Document 1-4 Filed 07/17/17 Page 3 of 5 Page ID #:56


                                    The mobile phone is functionally divided into the communication part and application part. The
                                    evolution of the former is as stated above, but the latter part is also rapidly becoming
                                    multifunctional by utilizing high-speed communications. Some examples are: high pixel built-in
                                    digital cameras; accurate capturing of location information by GPS (Global Positioning System);
                                    evolution of sound sources such as termination sounds with a greater range of expression; and
                                    built-in electronic money functions. Viewing of terrestrial digital broadcasts is also about to
                                    become possible.

                                    In order to use these functions with ease, screens are becoming high precision. Also, a
                                    technology to make the screen connection cables thinner is now necessary in order to use the
                                    tilting biaxial mechanism that rotates the screen to any direction for viewing. And in order to
                                    contain in a palm-size device all the performance of the PCs of several generations before, many
                                    difficult hurdles must be overcome. Examples include reducing power consumption to extremely
                                    low levels; high-speed signal processing; and small packaging with excellent heat radiation
                                    capability. NEC Electronics is responding to such sophisticated demands by taking the following
                                    three approaches:



                                    (1)At present, we provide various semiconductors including CPUs for both communication
                                       processing (digital base band) parts and parts that process higher applications such as digital
                                       cameras, GPS, sound sources, and TV tuners. In the future we will focus in particular on
                                       semiconductors for the latter, and provide a variety of value-added products for mobile
                                       phones.
                                    (2)3G mobile will be using more LCD (Liquid Crystal Display) and multi-panels. To drive these
                                       devices more smoothly, we will provide LCD driver/controllers for color TFTs and large panels.
                                       Also, we have started developing a technology to make the connection cable between the
                                       cards and LCD screen thinner by making them serial cables.
                                    (3)In order to perform the processing described above, a number of high capacity memory types
                                       are required. At the same time, only a limited amount of space is available inside the mobile
                                       phone and the physical memory size must be kept as small as possible. To satisfy these
                                       contradictory requirements, high-density memory and custom IC mounting are used. A
                                       package solution will be provided that places everything into a single package using SIP
                                       (System in Package) technology.

                                    NEC Electronics will also provide various devices that can be used with conventional
                                    second-generation mobile terminals. Please see the following block diagram.




2 of 4                                                                                                                         7/23/2006 2:26 PM
Mobile / System Applications / NEC Electronics                                          http://www.necel.com/en/solutions/applications/mobile/3g/01.html
              Case 2:17-cv-05266-JVS-DFM Document 1-4 Filed 07/17/17 Page 4 of 5 Page ID #:57




                                                  Figure 1:Functional block diagram of a third generation mobile phone


                                    -- Expansion of baseband LSI to overseas markets and our initiatives to that end --

                                    At NEC Electronics we are proud to command the largest share of the Japanese 3G mobile phone
                                    market. Hoping to expand this cutting edge technology to overseas markets, in addition to the
                                    domestically acquired "W-CDMA" 3G mobile phone standard, in cooperation with NEC, we are
                                    developing dual mode baseband LSI able to function with the "GSM/GPRS/EDGE" 2G/2.5G
                                    standards currently most common in other countries.
                                    ** Part enclosed in red dotted lines in the block diagram above.

                                    When marketing this LSI, up to the communication protocol software processing part will be
                                    packaged, making it fairly easy to design a dual mobile terminal supporting 2G/2.5G as well as
                                    3G. Also, the data communication section will contain HSDPA, next generation high-speed
                                    communication technology, thus allowing building of the high-speed data communication
                                    environment for which 3G mobile phones are designed.

                                    We will also actively market this baseband LSI to companies outside the NEC group, with the aim
                                    of establishing a global business standard for 3G base band LSI.

                                    We are also planning to integrate into this baseband LSI the parallel application processor
                                    unveiled on September 27, 2004, allowing us to offer integrated solution for the world of 3G
                                    mobile phones.
                                    ***The block diagram shows the portion surrounded by green dotted lines being integrated into
                                    the portion surrounded by red dotted lines.



                                                                   (Events)3GSM Congress 2005
                                                                   (NEWS 6 Sep. 2004)Toshiba, NEC Electronics, and Fujitsu Agree on
                                                                   "COSMORAM Rev.3" Common Specifications for PSRAM
                                                                   (NEWS 25 Mar. 2004 ) Transmeta and NEC Electronics Reach
                                                                   Agreement on Strategic Alliance for Low Power and Leakage
                                                                   Management
                                                                   (NEWS 23 Feb. 2004) NEC Electronics Releases Industry's First Liquid
                                                                   Crystal Display Driver ICs Supporting High-Speed Serial Interface
                                                                   (NEWS 2 Oct. 2003) NEC Electronics Starts Shipping Single-Chip LCD




3 of 4                                                                                                                               7/23/2006 2:26 PM
Mobile / System Applications / NEC Electronics                                  http://www.necel.com/en/solutions/applications/mobile/3g/01.html
              Case 2:17-cv-05266-JVS-DFM Document 1-4 Filed 07/17/17 Page 5 of 5 Page ID #:58
                                                                Controller Driver with On-Chip Graphics Engine
                                                                (NEWS Sep.15,2003)NEC Electronics Announces New Sound
                                                                Synthesizer LSI Solution for Cell Phones
                                                                (NEWS)NEC Electronics Unveils Industry's Smallest and Thinnest
                                                                Leadless Packages for Small Signal Discrete Devices
                                                                (NEWS Jul.4,2003)NEC Electronics Develops GPS Chipset for Mobile
                                                                Applications with Three-mode Positioning System




                                    Application Processor                           Digital baseband
                                        Application Processor                         Cell base IC
                                                                                        CB-130 Series

                                    Sound Source LSIs                                      * Purchasing or developing the
                                        Mobile Melody LSI                                  base-band section LSI requires prior
                                                                                           licensing agreement between licenser
                                    Packages                                               and you, a customer. Contact with our
                                                                                           sales staffs in our company for detailed
                                        Multi-Chip Package (MCP)
                                                                                           information.

                                    Display Driver ICs
                                        For Mobile Phones                           Memory
                                                                                        Low-power SRAM
                                                                                        Mobile Specified RAM
                                                                                        Flash memory
                                                                                        Stacked MCP


                                                                                    LCD driver



                                                                Downsizing of MOSFETs Protecting Li-ion Secondary Batteries in
                                                                Mobile Phones
                                                                Circuits in Power Supply and Peripheral Blocks in Mobile Phone
                                                                Power Management SW Product List




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4 of 4                                                                                                                        7/23/2006 2:26 PM
